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     STIP
 1   GABRIEL L. GRASSO, ESQ.
 2   State Bar Number 7358
     231 South Third Street, Suite 100
 3   Las Vegas, Nevada 89101
     (702) 868-8866
 4   Attorney for CHAVEZ-MACIAS
 5
                               UNITED STATES DISTRICT COURT
 6
                             IN AND FOR THE STATE OF NEVADA
 7
     UNITED STATES OF AMERICA,                  )
 8                                              )
 9                         Plaintiff,           )
                                                ) Case No.: 2:09-CR-00302-GMN-PAL
10                                              )
     vs.                                        )
11                                              )     STIPULATION TO CONTINUE
12   JUAN CARLOS MACIAS-CHAVEZ,                 )     CALENDAR CALL AND TRIAL DATE
     JOSE ROSALES,                              )     (FIFTH REQUEST)
13                                              )
                     Defendant.                 )
14   ______________________                     )
15
     Certification: This stipulation is filed pursuant to General Order 2007-04.
16          IT IS STIPULATED between the defendant JUAN CARLOS MACIAS-CHAVEZ
17   through his attorney GABRIEL L. GRASSO, ESQ., co-defendant JOSE ROSALES
18   through his attorney TODD M. LEVENTHAL, ESQ. and the United States of America,

19   through BRADLEY GILES, Assistant United States Attorney, that the calendar call
     currently scheduled for January 3, 2011 at the hour of 8:30 a.m. and the jury trial
20
     currently scheduled for January 11, 2011, at the hour of 8:30 a.m., be vacated and
21
     continued 60 days, or to a date and time to be set by this Honorable Court.
22
            This Stipulation is entered into pursuant to General Order 2007-04 and based
23   upon the following:
24          1.     There have been FOUR (4) previous continuances granted to the
25                 defense in this case.

26          2.     Defense counsel for MACIAS-CHAVEZ was retained to represent the
                   defendant in this case on April 28, 2010 after TWO (2) continuances had
27
                   already been granted to previous counsel. The complexity of this case,
28
                   as well as additional concerns regarding retained counsel, require this
                   stipulation by the parties to this case.
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         3.    Previous attempts at a negotiated settlement have not been successful.
 1
               Undersigned counsel will continue to seek a settlement as well as
 2
               prepare for trial, therefore additional time is required.
 3       4.    Currently, preparation for trial is underway, and the extensive wiretap
 4             evidence requires further scrutiny by the defense. The wiretaps are in
 5             Spanish, which further complicates the process. The defense has not

 6             completed the wiretap investigation in this case.
         5.    Moreover, undersigned defense counsel has been informed by the
 7
               defendant’s family that no further funds will be forthcoming to pay the fee
 8
               agreed to in this case. With the prospect of a lengthy jury trial,
 9
               Undersigned counsel will be requesting a hearing before this Court on
10             the issue of withdrawal.
11       6.    Denial of this request for continuance would deny the defendant
12             sufficient time to be able to prepare for trial in this case, taking into

13             account the exercise of due diligence.
         7.    Also, denial of this request or continuance would result in a miscarriage
14
               of justice.
15
         8.    Defense Counsel has discussed this matter of a continuance with his
16
               client who is in agreement with the contents of the stipulation.
17
         9.    Todd M. Leventhal, counsel for co-defendant, JOSE ROSALES, concurs
18             in this request for continuance of the trial in this case.
19       10.   For the above stated reasons, the parties agree that a continuance of
20             the calendar call and trial date would best serve the ends of justice in

21             this case.
         11.   The additional time requested by this stipulation is excludable in
22
               computing the time within which the trial herein must commence
23
               pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), considering
24
               the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
25       12.   This is the fourth request for a continuance of the calendar call and trial
26             date in this case.
27
28

                                              2
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                  DATED this _____ day of November, 2010.
 1
 2
     RESPECTFULLY SUBMITTED BY:
 3
 4
     ________/s/________________                _________/s/_____________
 5   BRADLEY GILES, ESQ.                        GABRIEL L. GRASSO, ESQ.
     Assistant United States Attorney           Attorney for Defendant
 6
                                                __________/s/_______________
 7
                                                TODD M. LEVENTHAL, ESQ.
 8                                               Attorney for Co-Defendant

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 5
 6                            UNITED STATES DISTRICT COURT

 7                           IN AND FOR THE STATE OF NEVADA
 8   UNITED STATES OF AMERICA,                 )
 9                                             )
                          Plaintiff,           )
10                                             )       Case No.: 2:09-CR-00302-GMN-PAL
     vs.                                       )
11                                             )       STIPULATION TO CONTINUE
     JUAN CARLOS MACIAS-CHAVEZ,                )
12
     JOSE ROSALEZ,                             )       CALENDAR CALL AND TRIAL DATE
13                                             )       (FIFTH REQUEST)
                                               )
14                                             )
                     Defendant.                )
15   ______________________                    )
16
                                        FINDINGS OF FACT
17
            Based upon the submitted Motion by the defense, and good cause appearing
18
     therefore, the Court finds that:
19
            1.     Defense counsel for MACIAS-CHAVEZ will require additional time to
20                 investigate the numerous recordings provided in discovery by the
21                 Government in this case.
22          2.     The defense needs additional time to adequately prepare for trial, A

23                 continuance will allow the defense to adequately and effectively
                   represent the defendant in this case as well as sufficiently explore the
24
                   possibility of a negotiated settlement.
25
            3.     Undersigned counsel requires additional time to settle the matter of his
26
                   continued representation of the defendant in this case and will be setting
27                 a hearing to address this issue.
28          4.     This stipulation complies with General Order 2007-04.

                                                   4
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 1
                                   CONCLUSIONS OF LAW
 2
            1.    Denial of this request for continuance would deny the defense herein
 3
                  sufficient time and the opportunity within which to be able to effectively
 4
                  and thoroughly research and prepare for trial in this case, taking into
 5                account the exercise of due diligence.
 6          2.    Additionally, denial of this request for continuance would result in a
 7                miscarriage of justice.
 8          3.    For all of the above stated reasons, the ends of justice would best be

 9                served by a continuance of the trial date, and such continuance
                  outweighs the best interest of the public and the defendant to a speedy
10
                  trial.
11
            4.    The additional time requested by the stipulation, is excludable in
12
                  computing the time within which the trial herein must commence
13                pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), considering
14                the factors under 18 U.S.C. § 3161(h)(7)(B)(i) and (iv).
15
                                              ORDER
16
            IT IS ORDERED that the calendar call currently scheduled for January 3, 2011,
17
     at the Having
            hour of read
                     8:30Defendant's Stipulation
                          a.m. be vacated   and to ContinuetoCalendar
                                                 continued            Call and Trial Date (Fifth
                                                              _______________________,
18
     2011, at the hour of _______ __.m.,
19   Request), and good cause appearing therefore, the Court hereby DENIES said request.
            IT IS FURTHER ORDERED that the trial in the above captioned matter
20          IT scheduled
     currently IS SO ORDERED    this 1st
                         for January  11,day of December,
                                          2011,            2010.
                                                 at the hour of 8:30 a.m., be vacated and
21   continued to ______________, 2011, at the hour of _________ __.m.,
22          IT IS FURTHER ORDERED ________________________________
                                  that the trial briefs, proposed voir dire questions,

23   proposed jury instructions, and theGloria
                                         list ofM.
                                                 theNavarro
                                                     Government’s prospective witnesses
                                            United States District Judge
     shall be submitted to the Court by ___________________, 2011, at the hour of 4:00
24
     p.m.
25
            IT IS SO ORDERED:
26
                                                ____________________________________
27                                              UNITED STATES DISTRICT JUDGE

28
                                                DATED:_____________________________

                                                  5
